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                       UNITED STATES COURT OF APPEALS                         FILED
                              FOR THE NINTH CIRCUIT                            JUN 3 2024
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
PATRINA HALL, AKA Patrina Harrison                  No. 23-16194

                   Plaintiff-Appellant,             D.C. No. 4:20-cv-05178-JST
                                                    Northern District of California,
 v.                                                 Oakland

CITY AND COUNTY OF SAN                              ORDER
FRANCISCO,

                   Defendant-Appellee.

Before:        FRIEDLAND, BENNETT, and SANCHEZ, Circuit Judges.

         The district court certified that this appeal is not taken in good faith and

determined that appellant’s in forma pauperis status should not continue on appeal.

See 28 U.S.C. § 1915(a). On October 2, 2023, this court ordered appellant to

explain in writing why this appeal should not be dismissed as frivolous. See 28

U.S.C. § 1915(e)(2) (court shall dismiss case at any time, if court determines it is

frivolous or malicious).

         Upon a review of the record, the responses to the court’s October 2, 2023

order, and the opening brief filed on September 27, 2023, we conclude that this

appeal is frivolous. We therefore deny appellant’s motion to proceed in forma

pauperis (Docket Entry No. 5) and dismiss this appeal as frivolous, pursuant to 28

U.S.C. § 1915(e)(2).



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         No further filings will be entertained in this closed case.

         DISMISSED.




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